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                              UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12 UNITED STATES OF AMERICA,                             Case No.: 2:18-cv-5389 JAK (SSx)
13
            Plaintiff,                                   PROTECTIVE ORDER
14
15          vs.
16 GAYANE HRANTOVNA METZOYAN,
17   a/k/a Anahit Hrant Tshermaykan,
18                 Defendant.
19
20 1.       PURPOSES AND LIMITATIONS
21          Discovery in this action is likely to involve production of confidential, for official
22 use only, law enforcement sensitive, and/or private information for which special
23 protection may be warranted. Accordingly, the parties hereby stipulate to and petition the
24 Court to enter the following Stipulated Protective Order. (“Order”). The Order does not
25 confer blanket protection on all disclosures or responses to discovery; the protection it
26 affords from public disclosure and use extends only to the limited information or items
27 that are entitled to confidential treatment under the applicable legal principles, and it does
28 not presumptively entitle parties to file confidential information under seal.

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 1 2.       GOOD CAUSE STATEMENT
 2          Good cause exists for the Order. The parties anticipate that discovery will include
 3 the “Confidential Information” detailed in section 3 below. Because the “Confidential
 4 Information” includes information protected from disclosure by federal statute or
 5 regulation, the parties require the Order to address the disclosure, handling, and
 6 maintenance of this information and the other information described in section 3 below.
 7 3.       CONFIDENTIAL INFORMATION
 8          “Confidential Information” shall include the following types of information
 9 produced or otherwise exchanged:
10          a.    an individual’s social security number, personal identification numbers, tax
11 identification number, alien registration number (“A number”), passport numbers, driver
12 license numbers, and any similar identifiers assigned to an individual by the federal
13 government, a state or local government of the United States, or the government of any
14 other country;
15          b.    any other information that, either alone or in association with other related
16 information, would allow the identification of the particular individual(s) to whom the
17 information relates;
18          c.    birth dates;
19          d.    any information that is protected or restricted from disclosure by state or
20 federal statute or regulation, but which the Court may order produced, such as
21 information protected by the Privacy Act, 5 U.S.C. § 552a, and other statutes or
22 regulations that may prevent disclosure of specific information related to noncitizens,
23 including but not limited to: 8 U.S.C. §§ 1160(b)(5), (6), 1186A(c)(4), 1202(f),
24 1254a(c)(6), 1255a(c)(4), (5); 1304(b), and 1367(a)(2), (b), (c), (d); 22 U.S.C.
25 §º7105(c)(1)(C); 8 C.F.R. §§ 208.6, 210.2(e), 214.11(e), 214.14(e), 216.5(e)(3)(viii),
26 236.6, 244.16, 245a.2(t), 245a.3(n), 245a.21, 1003.27(b)-(d), 1003.46, and 1208.6, which
27 otherwise could subject either party to civil or criminal penalties or other sanctions in the
28 event of unauthorized disclosure;

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 1          e.    names of any individuals known to be under 18 years of age;
 2          f.    addresses and telephone numbers;
 3          g.    any sensitive, but unclassified, information to include limited official use or
 4 for official use only information;
 5          h.    any information compiled for law enforcement purposes, including but not
 6 limited to, investigative files and techniques related to the integrity of the legal
 7 immigration system, suspected or known fraud, criminal activity, public safety, or
 8 national security, and investigative referrals;
 9          i.    bank account numbers, credit card numbers, and other financial information
10 that can be specifically linked to an individual’s or entity’s financial account;
11          j.    medical information, such as medical records, medical treatment, and
12 medical diagnoses; and,
13          k.    any other personally identifiable information identified in Federal Rule of
14 Civil Procedure 5.2 and Local Civil Rule 5.2-1.
15          If a designating party determines that information not described in this section
16 should be designated Confidential Information, the parties shall negotiate the
17 appropriateness of that designation in good faith and endeavor to resolve any dispute
18 prior to the production of that information. If the parties are unable to resolve the dispute
19 within 14 calendar days, the designating party shall designate the material as containing
20 Confidential Information and produce it. The receiving party can then challenge the
21 confidentiality designation(s) pursuant to section 7 of this Order. Information that has
22 been made public under the authority of a party and information that does not permit the
23 identification of the particular individuals to whom the information relates are not
24 considered Confidential Information, unless otherwise covered under of the categories
25 identified above.
26 4.       SCOPE
27          The protections conferred by this Order cover not only those portions of any
28 documents containing Confidential Information (as defined above), but also (1) any

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 1 information copied or extracted from those portions of any documents containing
 2 Confidential Information; (2) all copies, excerpts, summaries, or compilations of
 3 Confidential Information; and (3) any testimony, conversations, or presentations by
 4 parties or their counsel that might reveal Confidential Information. However, the
 5 protections conferred by this Order do not cover information that is properly in the public
 6 domain or becomes part of the public domain through trial or otherwise.
 7 5.       ACCESS TO AND USE OF CONFIDENTIAL INFORMATION
 8          a.    Basic Principles. A receiving party may use Confidential Information that is
 9 disclosed or produced by another party or by a non-party in connection with this case
10 only for prosecuting, defending, or attempting to settle this litigation. Confidential
11 Information shall not be disseminated outside the confines of this case, nor shall it be
12 included in any pleading, record, or document that is not filed under seal with the Court
13 or redacted in accordance with applicable law. Confidential Information may be
14 disclosed only to the categories of persons and under the conditions described in this
15 Order. Confidential Information must be stored and maintained by a receiving party at a
16 location and in a secure manner that ensures that access is limited to the persons
17 authorized under this Order.
18          b.    Disclosure of Confidential Information or Items. Unless otherwise ordered
19 by the Court or permitted in writing by the designating party, a receiving party may
20 disclose any Confidential Information only to:
21                (1)   Defendant, Defendant’s employees to whom disclosure is reasonably
22                necessary for this litigation, and Plaintiff;
23                (2)   Defendant’s counsel in this action and any support staff and other
24                employees of such counsel assisting in this action with an appropriate need
25                to know. If any of Defendant’s counsel, support staff, or other employees
26                cease to represent Defendant in this action for any reason, such counsel shall
27                no longer have access to or be authorized to receive any Confidential
28                Information; Plaintiff’s counsel in this action and any support staff and other

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 1                employees of such counsel assisting in this action with an appropriate need
 2                to know. If any of Plaintiff’s counsel cease to represent Plaintiff in this
 3                action for any reason, such counsel shall no longer have access to or be
 4                authorized to receive any Confidential Information;
 5                (3)   experts and consultants to whom disclosure is reasonably necessary
 6                for this litigation and who have signed the “Acknowledgment and
 7                Agreement to Be Bound” (Exhibit A);
 8                (4)   any other person mutually authorized by both parties’ counsel to
 9                examine such information;
10                (5)   the Court, court personnel, and court reporters and their staff;
11                (6)   copy or imaging or data processing services retained by counsel to
12                assist in litigation, provided that counsel for the party retaining the copy or
13                imaging or data processing service instructs the service not to disclose any
14                Confidential Information to third parties and to immediately return all
15                originals and copies of any Confidential Information;
16                (7)   during their depositions, witnesses in the action to whom disclosure is
17                reasonably necessary and who have signed the “Acknowledgment and
18                Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the
19                designating party or ordered by the Court. Pages of transcribed deposition
20                testimony or exhibits to depositions that reveal Confidential Information
21                must be separately bound by the court reporter and may not be disclosed to
22                anyone except as permitted under this Order; and,
23                (8)   the author or recipient of a document containing Confidential
24                Information or a custodian or other person who otherwise possessed or knew
25                the Confidential Information.
26          c.    Use of Information Subject To Protective Order. Use of any information or
27 documents subject to this Protective Order, including all information derived therefrom,
28 shall be restricted to use in this litigation (subject to the applicable rules of evidence and

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 1 subject to the confidentiality of such materials being maintained) and shall not be used by
 2 anyone subject to the terms of this agreement, for any purpose outside of this litigation or
 3 any other proceeding between the parties. Without limiting the generality of the
 4 foregoing sentence, no one subject to this Protective Order shall use Confidential
 5 Information obtained in this litigation to retaliate against, intimidate, or discriminate
 6 against any individual in any manner, or harass any other party or witness, relatives of
 7 any other party or witness, including domestic partners of a party or witness; or any
 8 individuals associated with the parties in any way. Notwithstanding the foregoing,
 9 nothing in this Protective Order supersedes existing independent statutory, law
10 enforcement, national security, or regulatory obligations imposed on a Party, and this
11 Protective Order does not prohibit or absolve the Parties from complying with such other
12 obligations. Nothing in this Protective Order shall limit or in any way restrict the use of
13 information obtained outside of this litigation.
14          d.    Filing Confidential Information. Before filing Confidential Information with
15 the Court, or discussing or referencing such material in court filings, the filing party shall
16 confer with the designating party (where practical, at least seven days prior to the
17 intended filing date) to determine whether the designating party will remove the
18 confidential designation, whether the document can be redacted, or whether a motion to
19 seal or stipulation and proposed order is warranted. Local Civil Rule 5.3(g) sets forth the
20 procedures that must be followed and the standards that will be applied when a party
21 seeks permission from the Court to file material under seal.
22 6.       DESIGNATING PROTECTED MATERIAL
23          a.    Exercise of Restraint and Care in Designating Material for Protection. Each
24 party or non-party that designates information or items for protection under this Order
25 must take care to limit any such designation to specific material that qualifies under the
26 appropriate standards. The designating party must designate for protection only those
27 parts of material, documents, items, or oral or written communications that qualify, so
28 that other portions of the material, documents, items, or communications for which

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 1 protection is not warranted are not swept unjustifiably within the ambit of this Order.
 2 Mass, indiscriminate, or routinized designations are prohibited. If it comes to a
 3 designating party’s attention that information or items that it designated for protection do
 4 not qualify for protection, the designating party must promptly notify all other parties that
 5 it is withdrawing the mistaken designation.
 6          b.    Manner and Timing of Designations. Except as otherwise provided in this
 7 Order (see, e.g., second paragraph of section 6.a(1) below), or as otherwise stipulated or
 8 ordered, disclosure or discovery material that qualifies for protection under this Order
 9 must be clearly so designated before or when the material is disclosed or produced.
10                (1)   Information in documentary form: (e.g., paper or electronic
11                documents and deposition exhibits, but excluding transcripts of depositions
12                or other pretrial or trial proceedings). The designating party must affix the
13                words “CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER” to
14                each page that contains Confidential Information. If only a portion or
15                portions of the material on a page qualifies for protection, the producing
16                party also must clearly identify the protected portion(s) (e.g., by making
17                appropriate markings in the margins).
18                (2)   Electronic Information Not Amenable to Marking Document: For
19                electronic information that is provided in native form or a format that is not
20                amenable to visible endorsement on the image, the file name(s) shall begin
21                with “CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER.” The
22                media on which the Confidential Information is provided (e.g., CD, DVD,
23                external hard drive) also must be and remain plainly labeled with
24                “CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER” unless and
25                until the protection of the data within the media is removed. Any copying or
26                transferring of electronic files that are designated as Confidential Material
27                must be done in a manner that maintains the protection for all copies,
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 1                including, but not limited to, in the filename(s) and the location where the
 2                copies are stored and users’ access thereto.
 3                (3)   Testimony given in deposition or in other pretrial or trial proceedings:
 4                The parties must identify on the record, during the deposition, hearing, or
 5                other proceeding, all protected testimony, without prejudice to their right to
 6                so designate other testimony after reviewing the transcript. Any party or
 7                non-party may, within 30 days after receiving a deposition transcript,
 8                designate portions of the transcript, or exhibits thereto, as confidential. The
 9                entire deposition transcript (including any exhibits not previously produced
10                in discovery in this Action) shall be treated as Confidential Information
11                under this Protective Order until the expiration of the above-referenced 30-
12                day period for designation, except that the deponent (and his or her counsel,
13                if any) may review the transcript of his or her own deposition during the 30-
14                day period subject to this Protective Order and the requirement of executing
15                the certification attached as Exhibit A. After designation of Confidential
16                Material is made, the following shall be placed on the front of the original
17                and each copy of a deposition transcript containing Confidential
18                Information: “CONFIDENTIAL PURSUANT TO PROTECTIVE
19                ORDER.” If the deposition was filmed, both the recording storage medium
20                (i.e., CD or DVD) and its container shall be labeled “CONFIDENTIAL
21                PURSUANT TO PROTECTIVE ORDER.” For interrogatory answers and
22                responses to requests for admissions, designation of Confidential
23                Information shall be made by placing within each interrogatory answer or
24                response to requests for admission asserted to contain Confidential
25                Information the following: “CONFIDENTIAL PURSUANT TO
26                PROTECTIVE ORDER”.
27                (4)   Other tangible items: The producing party must affix in a prominent
28                place on the exterior of the container or containers in which the information

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 1                or item is stored the words “CONFIDENTIAL PURSUANT TO
 2                PROTECTIVE ORDER.” If only a portion or portions of the information or
 3                item warrant protection, the producing party, to the extent practicable, shall
 4                identify the protected portion(s).
 5          c.    Inadvertent Failures to Designate. If a party inadvertently fails to designate
 6 material as Confidential Information at the time of production, it shall take reasonable
 7 steps to notify all receiving persons of its failure within five business days of discovery.
 8 The producing party shall promptly supply all receiving persons with new copies of any
 9 documents bearing corrected confidentiality designations, and the receiving party shall
10 destroy the original materials, and certify in writing to the producing party that such
11 information has been destroyed.
12 7.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
13          a.    Timing of Challenges. Any party or non-party may challenge a designation
14 of confidentiality at any time. Unless a prompt challenge to a designating party’s
15 confidentiality designation is necessary to avoid foreseeable, substantial unfairness,
16 unnecessary economic burdens, or a significant disruption or delay of the litigation, a
17 party does not waive its right to challenge a confidentiality designation by electing not to
18 mount a challenge promptly after the original designation is disclosed.
19          b.    Meet and Confer. The parties must make every attempt to resolve any
20 dispute regarding confidential designations without court involvement. Any motion
21 regarding confidential designations or for a protective order must include a certification,
22 in the motion or in a declaration or affidavit, that the movant has engaged in a good faith
23 meet and confer conference with other affected parties in an effort to resolve the dispute
24 without court action. The certification must list the date, manner, and participants to the
25 conference. A good faith effort to confer requires a face-to-face meeting or a telephone
26 conference.
27          c.    Judicial Intervention. If the parties cannot resolve a challenge without court
28 intervention, the challenging party may file and serve a motion to withdraw

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 1 confidentiality under Local Civil Rule 37.1. The burden of persuasion in any such
 2 motion shall be on the designating party. All parties shall continue to maintain the
 3 material in question as confidential until the Court rules on the challenge.
 4 8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 5         OTHER LITIGATION
 6         If a party is served with a subpoena or a court order issued in other litigation that
 7 compels disclosure of any information or items designated in this action as
 8 “CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER,” that party must:
 9         a.    promptly notify the designating party in writing and include a copy of the
10 subpoena or court order;
11         b.    promptly notify in writing the party who caused the subpoena or order to
12 issue in the other litigation that some or all of the material covered by the subpoena or
13 order is subject to this Order and provide a copy of this Order with that notification;
14         c.    cooperate with respect to all reasonable procedures sought to be pursued by
15 the designating party or parties whose Confidential Information may be affected,
16 including objecting and seeking a protective order in the litigation in which the subpoena
17 or order issued; and decline to produce the Confidential Information if an objection has
18 been made until the objection has been resolved unless disclosure, dissemination, or
19 transmission is required by law or court order. Any person, entity, or organization who
20 receives Confidential Information shall abide by all terms and conditions set forth herein
21 unless otherwise permitted by court order.
22 9.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
23         If a receiving party learns that, by inadvertence or otherwise, the party has
24 disclosed Confidential Information to any person or in any circumstance not authorized
25 under this Order, the receiving party must immediately:
26         a.    notify in writing the designating party of the unauthorized disclosure(s);
27         b.    use best efforts to retrieve all unauthorized copies of the protected material;
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 1         c.    inform the person or persons to whom unauthorized disclosures were made
 2 of all the terms of this Order; and
 3         d.    request that such person or persons execute the “Acknowledgment and
 4 Agreement to Be Bound” that is attached hereto as Exhibit A.
 5 10.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 6         PROTECTED MATERIAL
 7         When a producing party gives notice to receiving parties that certain inadvertently
 8 produced material is subject to a claim of privilege or other protection, the obligations of
 9 the receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
10 This provision is not intended to modify whatever procedure may be established in an e-
11 discovery order or order that provides for production without prior privilege review.
12 11.     TERMINATION AND RETURN OF DOCUMENTS
13         Within 60 days after the termination of this action, including all appeals, each
14 receiving Party shall destroy all Confidential Information obtained from another party in
15 its possession, custody, or control. The parties shall agree upon appropriate methods of
16 destruction. Notwithstanding this provision, counsel are entitled to retain one archival
17 copy of all documents filed with the Court; trial, deposition, and hearing transcripts;
18 correspondence; deposition and trial exhibits; expert reports; attorney work product; and
19 consultant and expert work product, even if such materials contain Confidential
20 Information, provided that such material is and remains clearly marked to reflect that it
21 contains Confidential Information, and such counsel maintain the confidential nature of
22 the discovery, as set forth in this Order. Notwithstanding the foregoing, nothing in this
23 Order shall be construed to supersede any party’s independent obligation to maintain
24 records in accordance with the Federal Records Act or other statutory or regulatory
25 record-keeping requirements. The confidentiality obligations imposed by this Order shall
26 remain in effect until a designating party agrees otherwise in writing or a court orders
27 otherwise.
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 1 12.     MISCELLANEOUS
 2         a.    Enforceability Upon Signing. By signing the Order, the parties agree to be
 3 bound by its terms unless and until those terms are modified by order of the Court.
 4         b.    Right to Further Relief. Nothing in this Order abridges the right of any party
 5 to seek its modification by the Court in the future.
 6         c.    Right to Assert Other Objections. By stipulating to entry of this Order, no
 7 party waives any right it otherwise would have to object to disclosing or producing any
 8 information or item on any ground not addressed in this Order. Similarly, no party
 9 waives any right to object on any ground to use in evidence of any of the material
10 covered by this Order.
11         d.    Effect of Order. This Order shall constitute a court order authorizing
12 disclosure of information designated as confidential, subject to the protections described
13 herein, for purposes of the Privacy Act, 5 U.S.C. § 552a(b)(11) (authorizing disclosure
14 pursuant to the order of a court of competent jurisdiction) and any other state or federal
15 statute or regulation that provides for disclosure pursuant to court order.
16
     IT IS SO ORDERED.
17
18 Dated this 20th day of July, 2018 in Los Angeles, California.
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20                                         ________________/S/_________________
                                           HONORABLE SUZANNE H. SEGAL
21                                         UNITED STATES MAGISTRATE JUDGE
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